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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

KAREN A. SPRANGER,

                   Plaintiff,
                                                 Case No. 18-cv-10005
vs.                                              HON. GEORGE CARAM STEEH

COUNTY OF MACOMB,

              Defendant.
__________________________/

                   OPINION AND ORDER GRANTING
               DEFENDANT’S MOTION TO DISMISS (DOC. 4)

        Plaintiff Karen Spranger alleges that defendant Macomb County is

conspiring against her to impede her ability to perform her role as Macomb

County Clerk. Count I alleges a conspiracy to interfere with Spranger’s civil

rights under 42 U.S.C. § 1985(3). Count II, brought pursuant to 42 U.S.C. §

1983, alleges a violation of Spranger’s rights under the Equal Protection

Clause of the Fourteenth Amendment. This matter is presently before the

Court on Macomb County’s motion to dismiss pursuant to Federal Rules of

Civil Procedure 12(b)(1) and 12(b)(6). (Doc. 4). Oral argument was held on

February 27, 2018. For the reasons stated below, defendant Macomb

County’s motion is GRANTED.




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                               I. Background

     Spranger, a Republican, was elected in November 2016. She was

sworn in as Macomb County Clerk and Register of Deeds on January 1,

2017. Spranger’s controversial tenure included numerous scandals,

employee grievances, and decreased efficiency in the day to day

performance of the Macomb County Clerk’s office. These events led both

parties to file lawsuits in Macomb County Circuit Court. All Macomb County

Circuit Judges recused themselves from these civil actions, which were

thereafter assigned to St. Clair County Judge Daniel Kelly. Judge Kelly

issued multiple orders in three lawsuits involving Spranger. This lawsuit

arises out of Spranger’s disagreement with Judge Kelly’s orders. Spranger

requests that the Court void Judge Kelly’s orders and dissolve the cases

against her. She asks this Court to enter the following orders:

           A. An Order of the Court to dissolve the mandamus
           action and injunctive relief filed by the SIXTEENTH
           CIRCUIT COURT, COUNTY TREASURER, and
           COUNTY SHERIFF as Ordered in Case number
           2017-004508-AW;

           B. An Order of the Court to dissolve the temporary
           restraining order and preliminary injunction filed by
           CANGEMI’s labor organization AFSCME 411;

           C. An Order of the Court to dissolve the quo
           warranto counter claim in Case number 2017-
           002261-CZ and then to allow the original case filed
           by SPRANGER to be heard by the Court;

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           D. An Order of the Court to require SCHAPKA,
           DELDIN, BATHANTI, CANGEMI, BIERNAT, COOK,
           and COLTHORP to cease and desist in their civil
           conspiracy of interference with the Offices of Clerk /
           Register of Deeds;

           E. An Order of the Court for all employees
           terminated by the mandamus order of the
           Circuit Court to be reinstated to their employment
           position – including any back pay lost due to the
           civil conspiracy;

           F. A Protective Order to allow SPRANGER to seek
           addition[al] redress with the Court if any of the
           County actors of MACOMB COUNTY interfere with
           the Order of the Court; and

           G. An Order of the Court granting such other relief
           Plaintiff is found to be entitled to.

(Doc. 1 at PageID 14-15) (emphasis in original). Macomb County filed a

motion to dismiss on January 8, 2018. (Doc. 4). Spranger filed a response,

(Doc. 7), to which Macomb County replied, (Doc. 8). Oral argument was

scheduled for February 27, 2018. (Doc. 6). On February 27, 2018, three

hours before oral argument, Spranger filed a motion for summary

judgment. (Doc. 11). The Court set a briefing schedule and informed the

parties that it would read these briefs before ruling on Macomb County’s

motion to dismiss. Macomb County filed a response. (Doc. 13). On April 3,

2018, Spranger filed a document that appears to be a reply. (Doc. 16). On

March 27, 2018, while the Court was waiting for Spranger’s reply brief,

Judge Kelly ruled that Spranger did not reside at the Warren address she

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listed on her application to run for Macomb County clerk. Based upon his

finding that Spranger made a false claim of residency, Judge Kelly

concluded that Spranger was not eligible to hold office and ordered her

removal.

                              II. Legal Standard

A. Federal Rule of Civil Procedure 12(b)(1)

      “A Rule 12(b)(1) motion addresses whether the Court has authority or

competence to hear a case.” Gilbert v. Ferry, 298 F. Supp. 2d 606, 611

(E.D. Mich. 2003). Motions to dismiss for lack of subject matter jurisdiction

fall into two general categories: facial attacks and factual attacks.” United

States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). “A facial attack is a

challenge to the sufficiency of the pleading itself. On such a motion, the

court must take the material allegations of the petition as true and

construed in the light most favorable to the non-moving party.” Id.

(emphasis in original). “A factual attack, on the other hand, is not a

challenge to the sufficiency of the pleading's allegations, but a challenge to

the factual existence of subject matter jurisdiction. On such a motion, no

presumptive truthfulness applies to the factual allegations” and “the court is

free to weigh the evidence and satisfy itself as to the existence of its power

to hear the case.” Id. (emphasis in original).


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B. Federal Rule of Civil Procedure 12(b)(6)

      A court confronted with a motion to dismiss pursuant to Federal Rule

of Civil Procedure 12(b)(6) must construe the complaint in favor of the

plaintiff, accept the allegations of the complaint as true, and determine

whether the plaintiff's factual allegations present plausible claims. Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 554-56 (2007). “[N]aked

assertions devoid of further factual enhancement” and “unadorned, the-

defendant-unlawfully-harmed-me accusation[s]” are insufficient to “state a

claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). The complaint need not contain “detailed” factual allegations,

but its “factual allegations must be enough to raise a right to relief above

the speculative level on the assumption that all of the allegations in the

complaint are true.” Ass'n of Cleveland Fire Fighters v. City of Cleveland,

502 F.3d 545, 548 (6th Cir. 2007).

                                  III. Analysis

   A. Rooker-Feldman Doctrine

      Macomb County asserts that the Court lacks subject matter

jurisdiction in this case because Spranger’s claims are barred by the

Rooker-Feldman doctrine. Macomb County’s argument focuses on




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Spranger’s requested relief, seeking an order from this Court dissolving

pending state court cases and multiple orders filed in those cases.

      In Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923), the plaintiff filed

suit in federal district court requesting that a state trial court judgment,

which was affirmed by the state supreme court, be declared null and void.

Id. at 414. The plaintiff alleged that the state court judgment violated the

Contract Clause and the Fourteenth Amendment’s Due Process and Equal

Protection Clauses. Id. at 414-15. The Supreme Court affirmed the district

court’s order dismissing the complaint for lack of subject matter jurisdiction.

Id. at 415-16. The Court “found that the plaintiff’s complaint was in fact

requesting the district court to exercise appellate review of the state court’s

judgment.” McCormick v. Braverman, 451 F.3d 382, 389 (6th Cir. 2006)

(citing Rooker, 263 U.S. at 415-16). “The Court noted that the district

court’s jurisdiction was strictly original, and that only the Supreme Court

could exercise appellate jurisdiction over state court decisions.” Id. (citing

Rooker, 263 U.S. at 416).

      The Supreme Court “reiterated the holding that a [federal] district

court could not exercise appellate review of a state court decision” in

District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983).

McCormick, 451 at 389. Following Feldman, lower courts interpreted the


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doctrine in ways that extended it far beyond the contours of Rooker and

Feldman. See Exxon Mobile Corp. v. Saudi Basic Indus. Corp., 544 U.S.

280, 283 (2005). The Supreme Court explained that the Rooker-Feldman

doctrine “is confined to cases of the kind from which the doctrine acquired

its name: cases brought by state-court losers complaining of injuries

caused by state-court judgments rendered before the district court

proceedings commenced and inviting district court review and rejection of

those judgments.” Id. at 284.

      In applying Exxon, the Sixth Circuit analyzed how courts should

“differentiate between a claim that attacks a state court judgment, which is

within the scope of the Rooker-Feldman doctrine, and an independent

claim, over which a district court may assert jurisdiction.” McCormick, 451

F.3d at 393. The court concluded that the proper inquiry “is the source of

the injury the plaintiff alleges in the federal complaint.” Id. “If the source of

the injury is the state court decision, then the Rooker-Feldman doctrine

would prevent the district court from asserting jurisdiction. If there is some

other source of injury, such as a third party’s actions, then the plaintiff

asserts an independent claim.” Id. “A court cannot determine the source of

the injury ‘without reference to [the plaintiff’s] request for relief.’” Berry v.




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Schmitt, 688 F.3d 290, 300 (6th Cir. 2012) (quoting Evans v. Cordray, 424

F. App’x 537, 538 (6th Cir. 2011)).

      The Court cannot conclude that all of Spranger’s injuries are caused

solely by state court decisions. Two paragraphs of Spranger’s complaint

certainly support a finding that she is seeking to overturn state court

rulings. She pleads that:

            34) The 16th Circuit Court, County Treasurer, and
            County Sheriff filed a writ of mandamus in order to
            restore four union employees back to their jobs.
            This action essentially strips SPRANGER of any
            hiring authority, discipline, or termination of
            employees.
            ...
            36) The collective legal actions by MACOMB
            COUNTY and the county actors have eroded the
            Management Rights of SPRANGER. The court
            orders are a concentrated effort by MACOMB
            COUNTY to systematically take over her Offices.

(Doc. 1 at PageID 11). Similarly, Spranger’s request for relief illustrates an

attempt to have the state decisions overturned. Cf. Berry, 688 F.3d at 300.

She seeks relief from these decisions, asking for

            A. An Order of the Court to dissolve the mandamus
            action and injunctive relief filed by the SIXTEENTH
            CIRCUIT COURT, COUNTY TREASURER, and
            COUNTY SHERIFF as Ordered in Case number
            2017-004508-AW;

            B. An Order of the Court to dissolve the temporary
            restraining order and preliminary injunction filed by
            CANGEMI’s labor organization AFSCME 411;
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           C. An Order of the Court to dissolve the quo
           warranto counter claim in Case number 2017-
           002261-CZ and then to allow the original case filed
           by SPRANGER to be heard by the Court;

           D. An Order of the Court to require SCHAPKA,
           DELDIN, BATHANTI, CANGEMI, BIERNAT, COOK,
           and COLTHORP to cease and desist in their civil
           conspiracy of interference with the Offices of Clerk /
           Register of Deeds;

           E. An Order of the Court for all employees
           terminated by the mandamus order of the
           Circuit Court to be reinstated to their employment
           position – including any back pay lost due to the
           civil conspiracy;

           F. A Protective Order to allow SPRANGER to seek
           addition[al] redress with the Court if any of the
           County actors of MACOMB COUNTY interfere with
           the Order of the Court; and

           G. An Order of the Court granting such other relief
           Plaintiff is found to be entitled to.

(Doc. 1 at PageID 14-15) (emphasis in original). See also (Doc. 1 at

PageID 16-17). Spranger reiterates this request in her Motion for Summary

Judgment. (Doc. 11 at PageID 88-89). These aspects of Spranger’s

complaint suggest that her claims fall within the purview of Rooker-

Feldman, but other allegations are less clear. For example, Spranger’s

allegation that Macomb County “hindered [her] ability to appoint and hire

budgeted employees” may be a consequence of the state orders or,

instead, may be founded on some independent interference from the


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alleged Macomb County actors. The Court cannot determine whether

Judge Kelly’s orders1 are the object of Spranger’s complaint based on the

record presently before it. Defendant Macomb County did not submit the

state court records in support of its claims here. As such, the Court cannot

say whether Spranger’s additional allegations were previously presented to

the state court; such that their appearance here merely constitutes a

misguided attempt to appeal a state court order, as precluded by Rooker-

Feldman, or represent independent claims based on injuries from another

source.

       Although the record may be insufficient to dismiss Spranger’s

complaint for lack of subject matter jurisdiction, Spranger nevertheless fails

to state a claim upon which relief can be granted as required by Federal

Rule of Civil Procedure 12(b)(6). Count I asserts a claim of conspiracy

under 42 U.S.C. § 1985(3).

               To state a claim under § 1985(3), a plaintiff must
               allege: “(1) a conspiracy; (2) for the purpose of
               depriving, either directly or indirectly, any person or
               class of persons of the equal protection of the laws,
               or of equal privileges or immunities of the laws; (3)
               an act in furtherance of the conspiracy; (4) whereby
               a person is either injured in his person or property



1
 The Court refers solely to the orders Judge Kelly issued “before the district court proceedings
commenced . . . .” See Exxon, 544 U.S. at 284.

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            or deprived of any right or privilege of a citizen of
            the United States.”

Vakilian v. Shaw, 335 F.3d 509, 518 (6th Cir. 2003) (quoting United Bhd. of

Carpenters and Joiners of Am. v. Scott, 463 U.S. 825, 828-29 (1983)). The

second element requires a plaintiff to “prove that the conspiracy was

motivated by ‘some racial, or perhaps otherwise class-based, invidiously

discriminatory animus.’” Haverstick Enters., Inc. v. Fin. Fed. Credit, Inc., 32

F.3d 989, 994 (quoting Scott, 463 U.S. at 829). “A class protected by

section 1985(3) must possess the characteristics of a discrete and insular

minority, such as race, national origin, or gender.” Haverstick, 32 F.3d at

994 (citing Hicks v. Resolution Trust Corp., 970 F.2d 378, 382 (7th Cir.

1992)). Spranger’s complaint does not allege any race-based, ethnic-

animated, or gender-motivated animus by Macomb County. As such, she

has failed to state a claim for conspiracy under § 1985(3).

      Count II pleads a violation of Spranger’s civil rights pursuant to 42

U.S.C. § 1983. Monell v. Department of Social Services of New York, 436

U.S. 658 (1978) holds that municipalities like defendant Macomb County

“may be held liable for the constitutional violations of their employees only

where the municipality’s policy or custom led to the violation.” Robertson v.

Lucas, 753 F.3d 606, 622 (6th Cir. 2014) (citing Monell, 436 U.S. at 694-



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95). A plaintiff attempting to demonstrate an illegal policy or custom must

show “(1) the existence of an illegal official policy or legislative enactment;

(2) that an official with final decision making authority ratified illegal actions;

(3) the existence of a policy of inadequate training or supervision; or (4) the

existence of a custom of tolerance or acquiescence of federal rights

violations.” Burgess v. Fischer, 735 F.3d 462, 478 (6th Cir. 2013) (citing

Thomas v. City of Chattanooga, 398 F.3d 426, 429 (6th Cir. 2005)).

      Spranger does not plead that Macomb County maintained a policy or

custom that caused her injury. Federal Rule of Civil Procedure 8 requires a

plaintiff’s pleading to “give the defendant fair notice of what the claim is and

the grounds upon which it rests.” Twombly, 550 U.S. at 544 (internal

quotation marks and alterations omitted). Spranger’s complaint, which

merely contains “nebulous assertions of wrongdoing” and “fails to claim that

[her] rights were violated by a policy or custom” of Macomb County “cannot

be said to give [Macomb County] fair notice of this claim.” Robertson, 753

F.3d at 623. This “deficiency is manifest from the face of [Spranger’s]

complaint. . . .” Id. As such, she has failed to state a claim upon which relief

can be granted.




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                                 IV. Conclusion

     For the reasons stated above, Macomb County’s motion to dismiss is

GRANTED. Counts I and II shall be dismissed. As such, Spranger’s Motion

for Summary Judgment, (Doc. 11), is moot.

     IT IS SO ORDERED.

Dated: May 2, 2018

                                        s/George Caram Steeh
                                        GEORGE CARAM STEEH
                                        UNITED STATES DISTRICT JUDGE




                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                 May 2, 2018, by electronic and/or ordinary mail and also on
                   Karen A. Spranger, 7520 Hudson, Warren, MI 48091.

                                     s/Barbara Radke
                                       Deputy Clerk




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